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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-208 (APM)
               v.                              :
                                               :
THOMAS WEBSTER,                                :
                                               :
                       Defendant.              :


                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                          MOTION TO TRANSFER VENUE


       Defendant Thomas Webster, who is charged in connection with events at the U.S. Capitol

on January 6, 2021, has moved to transfer venue in this case to another district. Webster fails to

establish that he “cannot obtain a fair and impartial trial” in this district, Fed. R. Crim. P. 21(a),

and this Court should deny his motion.

                                          BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       On January 6, 2021, Webster joined a group of rioters outside police barricades on the west

side of the U.S. Capitol building. Webster yelled aggressively at police officers and repeatedly

swung a metal flagpole toward Metropolitan Police Department Officer N.R. ECF No. 1-1, at 2-




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5. After Officer N.R. managed to wrest the flagpole away from Webster’s grip, Webster charged

through the metal barricade, tackled Officer N.R. to the ground, and tried to remove Officer N.R.’s

face shield and gas mask. Id. at 5-7.

       Based on his actions on January 6, 2021, Webster was charged with assaulting, resisting,

or impeding an officer or employee of the United States using a dangerous weapon, in violation of

18 U.S.C. § 111(a)(1) and (b); obstructing, impeding, and interfering with a law enforcement

officer during the commission of a civil disorder, in violation of 18 U.S.C. § 231(a)(3); entering

and remaining in a restricted building or grounds with a deadly or dangerous weapon, in violation

of 18 U.S.C. § 1752(a)(1) and (b)(1)(A); disorderly and disruptive conduct in a restricted building

or grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(2) and

(b)(1)(A); engaging in physical violence in a restricted building or grounds with a deadly or

dangerous weapon, in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A); disorderly conduct within

the Capitol grounds or buildings, in violation of 40 U.S.C. § 5104(e)(2)(D); and committing an act

of physical violence within the Capitol grounds or buildings, in violation of 40 U.S.C.

§ 5104(e)(2)(F). ECF No. 6 (Indictment).

       Webster now moves for a change of venue. ECF No. 49. He contends that prejudice should

be presumed in this district for four primary reasons: (1) the number of federal employees living

and working with the District of Columbia, (2) the political makeup of the District of Columbia

jury pool; (3) the results of a survey conducted by Select Litigation, and (4) pretrial publicity

surrounding the events of January 6. Each of Webster’s arguments is without merit, and his motion

should be denied.




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                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).

I.     The Number of Federal Employees Who Reside in the District of Columbia Does Not
       Support a Presumption of Prejudice.

       Webster argues that the Court should presume prejudice in this District because the jury

pool would contain a high percentage of federal government employees or their friends and family



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members. ECF No. 49, at 4. But he does not explain how merely being “closely connected to the

Federal Government” would render a person incapable of serving as an impartial juror. Id.

Although some federal employees, such as the U.S. Capitol Police, were affected by the events of

January 6, many others were neither directly nor indirectly affected. Indeed, many federal

employees were nowhere near the Capitol on January 6 given the maximum telework posture at

the time. And the storming of the Capitol on January 6 was not aimed at the federal government

in general, but specifically at Congress’ certification of the electoral vote. There is therefore no

reason to believe that federal employees with little or no connection to the events at the Capitol

could not be impartial in this case. See United States v. Bochene, No. CR 21-418 (RDM), 2022

WL 123893, at *2 (D.D.C. Jan. 12, 2022) (January 6 defendant’s claim that federal employees

would “have a vested interest in supporting their employer” was “exactly the kind of conjecture

that is insufficient to warrant transfer prior to jury selection”).

        Even assuming (incorrectly) that every federal employee is affected by improper bias, the

Court could draw a jury from those District residents who are not employed by the federal

government. Webster states that, “[a]s of 2019, there were approximately 200,000 Federal

employees . . . living and working in the District.” ECF No. 49, at 4. But many federal employees

who work in the District live outside the District and would not be part of the jury pool. And the

District has approximately 700,000 residents.           Thus, even if every federal employee was

disqualified, the Court would be able to pick a jury in this District.

II.     The District of Columbia’s Political Makeup Does Not Support a Presumption of
        Prejudice.

        Webster contends that he cannot obtain a fair trial in the District of Columbia because of

the “lopsided political makeup of the District.” ECF No. 49, at 7. The en banc D.C. Circuit

rejected a nearly identical claim in Haldeman, where the dissent concluded that a venue change



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was required because “Washington, D.C. is unique in its overwhelming concentration of

supporters of the Democratic Party” and the Democratic candidate received 81.8% and 78.1% of

the vote when Nixon ran for President in 1968 and 1972, respectively. Haldeman, 559 F.2d at 160

(MacKinnon, J., concurring in part and dissenting in part). The majority rejected the relevance of

this fact, observing that authority cited by the dissent gave no “intimation that a community’s

voting patterns are at all pertinent to venue.” Id. at 64 n.43; see also United States v. Chapin, 515

F.2d 1274, 1286 (D.C. Cir. 1975) (rejecting the argument that “because of [the defendant’s]

connection with the Nixon administration and his participation in a ‘dirty tricks’ campaign aimed

at Democratic candidates and with racial overtones, a truly fair and impartial jury could not have

been drawn from the District’s heavily black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that

“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing




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its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, and Roger Stone, have all been tried in the District. See United States v. Barry, 938 F.2d

1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991); United States

v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F. Supp. 2d 1

(D.D.C. 2007); United States v. Stone, No. 19-CR-0018 (ABJ), 2020 WL 1892360 (D.D.C. Apr.

16, 2020). Indeed, the Court in Stone rejected the argument that jurors “could not possibly view

[Roger Stone] independently from the President” because of his role in the presidential campaign

or that “if you do not like Donald Trump, you must not like Roger Stone.” 2020 WL 1892360, at

*30-31. Similarly here, the fact that most District residents voted against Donald Trump does not

mean those residents could not impartially consider the evidence against those charged in

connection with the events on January 6.

III.   The Select Litigation Poll Does Not Support a Presumption of Prejudice.

       Webster also relies on a poll conducted by Select Litigation, a private litigation consulting

firm, at the request of the Federal Public Defender for the District of Columbia. ECF No. 49-1.

Select Litigation conducted a telephone poll of potential jurors in the District of Columbia and in

the Atlanta Division of the Northern District of Georgia and contracted with a media research firm

to analyze news media coverage of January 6 in both of those jurisdictions.

       Contrary to Webster’s contention, the Select Litigation poll does not support a presumption

of prejudice in this District. For one thing, the poll indicates that levels of media exposure to the

events of January 6 are not significantly different in Atlanta than in Washington, D.C. The number




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of respondents who had seen “[a] lot” of coverage in each jurisdiction differed only by three

percentage points (33% in D.C. versus 30% in Atlanta), which is within the margin of error. ECF

No. 49-1, at 1-2, 14. The number of respondents who had seen “[s]ome” coverage was exactly the

same (25% in both jurisdictions), and the number who had seen “[q]uite a bit” of coverage was

not significantly different (28% in D.C. versus 20% in Atlanta). Id. at 14. The total percentage of

respondents who were exposed to “[a] lot,” “[q]uite a bit,” or “[s]ome” news coverage was 86%

in Washington, D.C. and 75% in Atlanta. Id. at 14. This relatively small difference does not

suggest that news coverage has made it impossible to pick an impartial jury in Washington, D.C.

       Webster points out (ECF No. 49, at 6) that 71% of respondents in D.C. said they had formed

the opinion January 6 arrestees were “guilty” of the charges brought against them. See ECF No.

49-1, at 14. The survey failed, however, to provide respondents with the option of saying they

were “unsure” about guilt, even though such an option is required by professional standards that

apply in this area. See American Society of Trial Consultants, Professional Standards for Venue

Surveys at 9, available at https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf

(“Respondents must be made aware that they can say they do not know or have no opinion.”). The

survey instead gave respondents a binary choice between “guilty or not guilty.” ECF No. 49-1, at

14. Yet even without being provided the appropriate options, 26% of D.C. respondents voluntarily

gave an answer of “Depends” or “Don’t know/Refused.” Id. This shows that, even in response to

a poorly worded question, more than a quarter of the District’s residents realized the need to keep

an open mind about guilt.

       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to




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the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only

after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id. Here, by

contrast, respondents were not provided a “don’t know” option, were not reminded of the

presumption of innocence, and were asked only whether they thought the “several hundred people”

arrested in connection with January 6 were “guilty.” ECF No. 49-1, at 14 (Questions 3, 4).

       When asked about guilt in the context of a criminal trial, however, respondents in the Select

Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked them to

“[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities on

January 6” and then asked whether they were “more likely to vote that the person is guilty or not

guilty.” ECF No. 49-1, at 14. In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people . . . arrested,” nearly half of D.C. residents were committed

to keeping an open mind—even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice

than was present in Haldeman.

       Webster points out (ECF No. 49, at 5) that, according to the Select Litigation poll, 84% of




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D.C. respondents had an “unfavorable” view of “people arrested for participating in the events at

the U.S. Capitol on January 6.” ECF No. 49-1, at 14. Although that is higher than the 54% of

Atlantans with unfavorable views, it is quite similar to the results of a nationwide CBS poll, which

found that 83% of respondents “[s]omewhat disapprove” or “[s]trongly disapprove” of the “actions

taken by the people who forced their way into the U.S. Capitol on January 6.” See CBS News

Poll,    December        27-30,      2021,      Question      2,       https://drive.google.com/file/d/

1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view. Webster has not asked to be tried in Atlanta

and has not, in fact, requested transfer to any specific venue. And, in any event, the fact that many

D.C. residents have a generally “unfavorable” view of people “arrested” on January 6 does not

mean that an impartial jury cannot be selected in this jurisdiction.

        Webster also points out (ECF No. 49, at 6) that 62% of D.C. respondents (compared to

48% of Atlanta respondents) would describe “most of the people who were arrested for their

involvement in the events on January 6th” as “criminals.” ECF No. 49-1, at 14 (Question 10).

The answers to this question likely reflect the commonly held view that most people arrested for

crimes are in fact guilty of those crimes. But the fact that 62% of D.C. respondents expressed this

off-the-cuff view about “most” of the 700-plus January 6th arrestees does not demonstrate that all

of those respondents would be unable to impartially find the facts in a specific case after being

properly instructed by the Court. Moreover, the question demonstrates that fully 28% of D.C.

respondents would not describe those arrestees as criminals, and 9% were unsure or refused to

answer. ECF No. 49-1, at 14. And the 14% difference between D.C. and Atlanta—which could

easily be explained by demographic differences such as age and education levels (see ECF No. 49-

1, at 15)—would not justify the conclusion that this is an “extreme case” in which a change of

venue is required. Skilling, 561 U.S. at 381.




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       Nor should prejudice be presumed because a substantial numbers of respondents “would”

describe “the people who forced their way into the U.S. Capitol” as “[t]rying to overturn the

election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection” (76%), or “[t]rying

to overthrow the U.S. government” (72%). ECF No. 49, at 6; ECF No. 49-1, at 15. For one thing,

the poll did not provide an “undecided” option but asked only whether respondents “would” or

“would not” use those descriptions. Id. For another, the question did not define the offenses of

“insurrection” or advocating the overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses

with which no defendant has been charged in connection with January 6. And, most importantly,

the poll did not answer the key question: whether a sufficient number of prospective jurors can

“lay aside [their] impression[s] or opinion[s] and render a verdict based on the evidence presented

in court.” Irvin v. Dowd, 366 U.S. 717, 723 (1961); see Patton v. Yount, 467 U.S. 1025, 1029

(1984) (no presumption of prejudice where nearly 99% of prospective jurors had heard of the case

and 77% indicated on voir dire that “they would carry an opinion into the jury box”). In short, the

Select Litigation poll does not come close to demonstrating that “12 impartial individuals could

not be empaneled” in Washington, D.C. Skilling, 561 U.S. at 382.

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on pretrial

polling and media analyses. As in Haldeman, there is “no reason for concluding that the population

of Washington, D. C. [i]s so aroused against [the defendant] and so unlikely to be able objectively

to judge [his] guilt or innocence on the basis of the evidence presented at trial” that a change of

venue is required. Haldeman, 559 F.2d at 62.




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IV.    The Pretrial Publicity Related to January 6 Does Not Support a Presumption of
       Prejudice in This District.

       Webster also contends that prejudice should be presumed based on pretrial publicity. ECF

No. 49, at 7-10. “The mere existence of intense pretrial publicity is not enough to make a trial

unfair, nor is the fact that potential jurors have been exposed to this publicity.” United States v.

Childress, 58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975)

(juror exposure to “news accounts of the crime with which [a defendant] is charged” does not

“alone presumptively deprive[] the defendant of due process”). Indeed, “every case of public

interest is almost, as a matter of necessity, brought to the attention of all the intelligent people in

the vicinity, and scarcely any one can be found among those best fitted for jurors who has not read

or heard of it, and who has not some impression or some opinion in respect to its merits.” Reynolds

v. United States, 98 U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived

notion as to the guilt or innocence of an accused, without more,” is insufficient to establish

prejudice. Irvin, 366 U.S. at 723. “It is sufficient if the juror can lay aside his impression or

opinion and render a verdict based on the evidence presented in court.” Id.

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine



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a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers




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could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

Webster’s contention, those factors do not support a presumption of prejudice in this case.

       A.      Size and characteristics of the community

       Webster suggests that an impartial jury cannot be found in Washington, D.C. because its

population is “under 700,000.” ECF No. 49, at 4. Although this District may be smaller than most

other federal judicial districts, it has a larger population than two states (Wyoming and Vermont),

and more than four times as many people as the parish in Rideau. The relevant question is not

whether the District of Columbia is as populous as the Southern District of Texas in Skilling, but

whether it is large enough that an impartial jury can be found. In Mu’Min v. Virginia, 500 U.S.

415, 429 (1991), the Court cited a county population of 182,537 as supporting the view than an

impartial jury could be selected. And Skilling approvingly cited a state case in which there was “a

reduced likelihood of prejudice” because the “venire was drawn from a pool of over 600,000

individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501 U.S. 1030, 1044

(1991)). There is simply no reason to believe that, out of an eligible jury pool of nearly half a

million, “12 impartial individuals could not be empaneled.” Id.




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       B.      Nature of the pretrial publicity

       Nor does this case involve a “confession or other blatantly prejudicial information of the

type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561 U.S.

at 382. Webster points out that his case has received significant media coverage and that he has

been called the “eye gouger,” even though the government has not alleged that he tried to gouge

the victim police officer’s eyes. ECF No. 49, at 8-9 & n.7. But even news stories that are “not

kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and accusatory in content,” Haldeman, 559

F.2d at 61, do not alone raise a presumption of prejudice. As in Skilling and Haldeman, the news

coverage of Webster is “neither as inherently prejudicial nor as unforgettable as the spectacle of

Rideau’s dramatically staged and broadcast confession.”          Id.   Indeed, although the media

characterizations of Webster would be inadmissible, the photos and videos of Webster that have

been disseminated would be both admissible and highly relevant at trial. Compare Sheppard, 384

U.S. at 360 (noting that information reported by the media was “clearly inadmissible” and that

“[t]he exclusion of such evidence in court is rendered meaningless when news media make it

available to the public”), with Murray v. Schriro, 882 F.3d 778, 805 (9th Cir. 2018) (“There was

no inflammatory barrage of information that would be inadmissible at trial. Rather, the news

reports focused on relaying mainly evidence presented at trial.”); Henderson v. Dugger, 925 F.2d

1309, 1314 (11th Cir. 1991) (“[B]ecause we have found [the defendant’s] confessions were

admissible, the damage if any from the [pretrial] publicity is negligible.”).

       Webster asserts that “it is impossible for a prospective juror from this District to be truly

fair and impartial” because “District of Columbia residents have been inundated with news

coverage about January 6th.” ECF No. 49, at 9-10. But even “massive” news coverage of a crime

does not require prejudice to be presumed. Haldeman, 559 F.2d at 61. And a comparatively small




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percentage of the news coverage of January 6 has focused on Webster himself. Unlike most cases

involving pretrial publicity, where the news coverage focuses on the responsibility of a single

defendant (as in Rideau or Tsarnaev) or small number of co-defendants (as in Skilling and

Haldeman), the events of January 6 involved thousands of participants and have so far resulted in

charges against more than 775 people. The Court can guard against any spillover prejudice from

the broader coverage of January 6 by conducting a careful voir dire and properly instructing the

jury about the need to determine a defendant’s individual guilt.

       And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest).

As the Select Litigation poll demonstrates, the number of potential jurors exposed to “[a] lot” of

news coverage of January 6 differs only slightly between Washington, D.C. (33%) and Atlanta

(30%). ECF No. 49-1, at 14 (Question 8). Thus, the nature and extent of the pretrial publicity do

not support a presumption of prejudice.

       C.      Passage of time before trial

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, 13 months have already

elapsed since the events of January 6, and more time will elapse before trial. This is far more than

in Rideau, where the defendant’s trial came two months after his televised confession. Rideau,

373 U.S. at 724. Although Webster is correct that January 6 continues to be in the news, ECF No.

49, at 10, the “decibel level of media attention [has] diminished somewhat,” Skilling, 561 U.S. at

383. Moreover, only a relatively small percentage of the recent stories have mentioned Webster




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himself, and much of the reporting has been national is scope, rather than limited to Washington,

D.C.

       D.      The jury verdict

       Because Webster has not yet gone to trial, the final Skilling factor—whether the “jury’s

verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at 383—does

not directly apply. But the fact that Skilling considered this factor to be “of prime significance,”

id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a case should

proceed to trial in the district where the crime was committed, and courts can examine after trial

whether the record supports a finding of actual or presumed prejudice. In short, none of the Skilling

factors support Webster’s contention that the Court should presume prejudice and order a transfer

of venue without even conducting voir dire.

                                         CONCLUSION

       For the foregoing reasons, the defendant’s motion to transfer venue should be denied.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     _____/s/ Hava Mirell
                                              HAVA MIRELL
                                              Assistant United States Attorney, Detailee
                                              United States Attorney’s Office
                                              District of Columbia
                                              CA Bar No. 311098
                                              555 4th Street, N.W.
                                              Washington, D.C. 20530
                                              (213) 894-0717
                                              Hava.Mirell@usdoj.gov




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                            _____/s/ Katherine Nielsen
                            KATHERINE NIELSEN
                            Trial Attorney, Detailee
                            United States Attorney’s Office
                            District of Columbia
                            D.C. Bar No. 491879
                            555 4th Street, N.W.
                            Washington, D.C. 20530
                            (202) 355-5736
                            Katherine.Nielsen@usdoj.gov

                            _____/s/ Brian P. Kelly
                            BRIAN P. KELLY
                            Assistant United States Attorney
                            United States Attorney’s Office
                            District of Columbia
                            D.C. Bar No. 983689
                            555 4th Street, N.W.
                            Washington, D.C. 20530
                            (202) 252-7503
                            Brian.Kelly3@usdoj.gov




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